               Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 1 of 7 PageID #: 11
EEOC Form 161-B (11 /09)              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                        NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To :    Katherine Pinner                                                      From:    St. Louis District Office
        9852 Knollshire Drive                                                          1222 Spruce St, Rm 8 100
        Saint Louis, MO 63123                                                          St Louis, MO 63103



EEOC Charge No.                                        EEOC Representative                                               Telephone No.
28E-2022-00369                                         Joseph J. Wilson                                                  (314) 798-1930
                                                       State, Local & Tribal Program Manager
                                                                                        (See also the additional information enclosed with this form.)

Issued On: 07/12/2022

NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)
        More than 180 days have passed since the filing of this charge.
        The EEOC is terminating its processing of this charge.


Age Discrimillatio11 in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until 90
days after you receive notice that we have completed action on the charge. In this regard, the EEOC is continuing its handling ofyour ADEA
case. However, if 60 days have passed since the filing of the charge, you may file suit in federal or state court under the ADEA at this time.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until 90
days after you receive notice that we have completed action on the charge. In this regard, the EEOC is closing your case. Therefore, your
lawsuit under the ADEA must be filed in federal or state court WITHIN 90 DAYS *ofyour receipt of this Notice.* Otherwise, your right to
sue based on the above-numbered charge will be lost.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay tluefor
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.



If you file suit, based on this charge, please send a copy of your court complaint to this office.


                                                              On Behalf of the Commission:

                                                              Digitally Signed By: David Davis 7/12/2022
                                                              David Davis
                                                              Acting District Director




 cc:     Margaret D Gentzen
         Attorney
         Fox Smith, LLC
         One S. Memorial Drive, 12th Floor
         Saint Louis, MO 63102
EEOC Fon!' 5 (5/01)
                      Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 2 of 7 PageID #: 12
                                                                                                                                                               Agency( ies)
         AMENDED CHARGE OF DISCRIMINATION                                                                     Charge Presented To:
                                                                                                                                                               Charge No(s):
              This form is affect ed by the Privacy Act of 197 4. See enclosed Privacy Act
                      Statement and other information before completing this form.
                                                                                                                 [K]   FEPA   E-01/22-53617
                                                                                                                 □     EEOC 28E-2022-00369

                                                         Missouri Commission On Human Rights                                                                        and EEOC
                                                                              State or local Agency. if any

Name (indicate Mr., Ms .. Mrs.)                                                                                        Home Ph one (Incl. Area Code)             Date of Bir1h

Ms. Katherine Pinner                                                                                                        314.440.0183                        01 /22/1967


Street Address                                                                     City , State and ZIP Code                                              Coun ty

9852 Knollshire Drive                                                              Saint Louis, MO 63123                                                  St Louis
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee. or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two. list under PARTICULARS below.)
Name                                                                                                                   No Emplofees Members        Phone No. (Include Atea Code)

American Association of Orthodontists                                                                                         15+                 314. 993.1700
Street Address                                                                     City , State and ZIP Cod e

401 North Lindbergh Boulevard                                                     Saint Louis, MO 63141
DISCRIMINATION BASED ON (C/ieck appropriate !)ox (es) .)                                                                      DATE (S) DISCRIMINATION TOOK PLAC Y , ; )
                                                                                                                               t;,/2Sl202/- Yll/202                   I~
  □        RACE        □      COLOR           □       SE X        0        RELIGION          □     NATIONAL ORIGIN            ~ - 8r1- i: mi
                                                                                                                               8'/1 I /2021- 3/Cl/2022 O(                   led«
       □         RETALIATION         □       AGE       □       DISABILITY
                                                                                     □ OTHER (Specify f)elow.)

                                                                                                                                                           I
                                                                                                                                                    CONTINUING
                                                                                                                                      - - - - - ~ - ar.TrnN

THE PARTICULARS ARE (If additional paper is needed. attach ext,a slleet(s}) :
  20 19, October - Start Date - I began working for the respondent.

  2020, March - Start Remote - I began work ing remotely as al lowed by company policy.

  2021, March through 2021, June - Policies - The respondent issued policy statements that:
        1.) Extended remote work until 2022, January with the possibility of extension
        2.) Notified employees of the Respondent's intent to evaluate the remote work policy prior to 2022, for
            possible implementation after January 1, 2022
        3.) Notified employees that they might be recalled to the office in 2022 in some capacity
        4.) Re iterated that face coverings or MRNA injections were required for employees voluntarily returning to
            the office

  2021, Jul y 8 - Policies - The respondent began tagging empl oyees (MRNA inj ection status)

  2021, June 14- Policy Exception # I In Person Ieeting (GORP) - The respondent issued a policy regarding a
  mixed event where employees and non-employees ,vere present. The poli cy stated that non-employees were
  exempted from compli ance with health verification and tagging protocols.
                                                                                                                                      ARTHUR BAUE
                                                                                                                                  Notary Public - Notary Seal
                                                                                 PAGE I OF6                                            State of Missouri
I want this charge filed with both the EEOC and the State or local Agency, if any. I               NOTARY - When nece
will advise the agencies if I change my address or phone number and I will coo perate
fully with them in the processing of my charge in accordance with their procedures.
                                                                                                   I swear or affir                           ove charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                                                                        nd belief.




   XS/s/2022.
             Date                                  Charging Pa1ty Signature
                  Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 3 of 7 PageID #: 13

THE PARTICULARS ARE (If additional paper is needed, attach extra s /Jeet(s)):


 2021, June 25 - Exemption Requests -Though the policies issued between March 2021 and June 2021 for
 recalling employees to the office were not to go into effect until on or after January 1, 2022, I submitted requests
 to the respondent. No forms were provided.
        1.) Request for face covering exemption due to my religion and strongly/ sincerely held religious beliefs
            (American Traditional Christian, Croatian Roman Catholic)
        2.) Request for injection exemption due to my religion and strongly/ sincerely held religious beliefs
            (American Traditional Christian, Croatian Roman Catholic)
        3.) In these requests, the employer was also informed of specific, potentially serious health concerns
        4.) Human Resources acknowledged receipt

 2021, June 25 through 202 I , August 11 - I endured instances of discrimination, coercion, harassment,
 unnecessary denial of exemption, and unnecessary denial of reasonable accommodation .

 2021 , Jul y 22- Policy Exception #2 Hybrid Meeting (CCON) - The respondent issued a new policy regarding
 a mi xed remote and in person event where employees and non-employees were present. The policy was changed
 on this date so that non-employees attending in person who were previously exempted from compliance with
 health verification and tagging protocols were now required to comply.

 2021, July 29- Ultimatum - The respondent's policy allowed remote work through 2022 January . Shortly after
 the manager became aware of the requests for exemption, I was denied exemption and issued an ultimatum that I
 "MUST":
        1.) Appear the next day in person
        2.) Violate my religion and strongly/ sincerely held religious beliefs by either wearing a face covering 0r
            demonstrating proof of having received medical injection
        3.) Comply regardless of health concerns remaining unaddressed

  202 1, August 11 - Ultimatum - Due to the ultimatum, I have not been able to return to work since 2021, August
  11.

  2022, March 9 - Policies - I was informed that the respondent's remote policy was in place on 2022 January and
  had been extended indefinitely as of March 9, 2022. I was fwiher informed that staff at all levels were working
  remotely as of March 9, 2022.




  LEGALITY

        •    MASKS ON AIRPLANES AND IN AIRPORTS - District Judge Kathryn Kimball Mizelle recently ruled that
             the CDC exceeded its authority over mask mandates for airline travel in a recent suit filed by the Health
             Freedom Defense Fund.
        •    OSHA - As per the Supreme Court ruling of January 13, 2022, employers are not allowed to mandate
             injections under OSHA. It is not clear what law gave them the authority to mandate medical procedures
             such as injections and face coverings.
        •    EXEMPTIONS FOR HEALTH CARE WORKERS - As per the Supreme Court ruling of January 13, 2022,
             health care workers who work in health-related jobs may submit religious and health exemptions.



                                                                                PAGE 2 OF 6
      Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 4 of 7 PageID #: 14


•   PRACTICING MEDICINE - It is currently illegal under every state law to practice medicine without a
    license. Injections and face coverings intended to prevent, slow, treat, or alter the progression of a
    disease could be considered medical procedures and prescriptions.
•   INHUMANE TREATMENT - Per the Geneva Convention, the Universal Declaration on Human Rights &
    Bioethics, and the Nuremberg Code, no one may be subjected to torture or cruel inhumane or
    degrading treatment or punishment. Face coverings and injections have been used historically as
    instruments of torture.
•   INEQUALITY UNDER THE LAW - Other employees such as those working in Florida and various cities and
    counties throughout Missouri (St. Charles for example), those working for the Federal Court system in
    Missouri, etc. have not been required to adhere to similar policies. These employees were not tagged
    with their health status.
•   MEDICAL DISCRIMINATION - Tagging life forms is common for agriculture and livestock but is
    considered legal by virtue of the agriculture and livestock being owned. However, it is inconceivable
    that such practices would be applied to human beings simply by virtue of being paid since they are not
    considered the property of the employer.
•   ABSENCE OF LAW - 2022, January 23 -The Health Commissioner's Order Number 7 for St. Louis City
    expressly documented the following as recognized exemptions for face coverings under the city's
    ordinance: "Individuals whose religious beliefs or practices prohibit the wearing of face covering" and
    "Individuals who have trouble breathing." It is unclear what authority gives an employer the right to
    create a more stringent policy than a city government since they are not an authorized legal or
    governmental entity.
•   HEALTH ORDINANCES-At various times, company policy was in place regardless of county and state
    ordinance. The legality of County ordinance additionally must be called into question if it was not
    written with the diligence to include statements of exemption as documented in the St. Louis City
    ordinance of January 23, 2022.
•   INFORMED CONSENT- Policies issued by the respondent made no mention of informed consent. Even
    though this respondent creates informed consents for routine dental procedures, they failed to
     incorporate informed consent into their procedure and policy. Additionally, the policies made no
     mention of health risks posed by face coverings and injections.
•   DATA CONSENT - Policies issued by the respondent made no mention of data consent policies for
     information being requested and obtained. Even though the respondent is aware of data consent
     policies in use by dental offices, they did not incorporate a data consent policy into their procedure. For
    example, the policies made no mention of who would see the information, how long the information
     would be retained, how the information was to be used, how the information would be recorded, in
     what electronic or manual systems the data would be recorded, etc.
•    UNAUTHORIZED USE AND ADMINISTRATION OF MEDICAL DATA - Information obtained by the
     respondent was being requested and recorded without being related to determining a qualifying
     permanent disability under ADA. Even the Missouri Commission on Human Rights cannot share such
     data with Respondents because it is considered confidential; yet the Respondent was requesting this
     information directly from employees.
•    DISCRIMINATION - Discriminatory policies were issued that: segregated employees by health status;
     discriminated against employees by title/ status/ assumed health status; and allowed some employees
     possible accommodations based on disability while denying others based on religion .




                                                    PAGE 3 OF 6
         Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 5 of 7 PageID #: 15




  •   HUMAN HEALTH - I was directed and coerced on different occasions to follow protocol that could
      jeopard ize my health with or without the presence of a permanent disability. The health concerns were
      expressly stated in the requests for exemption submitted to the respondent. Questions and requests
      for information related to these health concerns were repeatedly dismissed by the respondent and
      ultimatums issued that could jeopardize my health with or without the presence of a permanent
      disability.
  •   SEVERE RESPIRATORY ILLNESS - Hospital Acquired Pneumonia (HAP) is a leading cause of respiratory
      illness for hospital patients, and it is caused by poor dental hygiene in hospitals, a fact which the
      respondent should have been aware based on their business type . HAP is widely known to be caused
      by the accumulation of bacteria in the mouth and respiratory system. Since no scientific studies were
      on record at the time of the employer's policy to demonstrate whether face coverings increase the risk
      of accumulation of bacteria in the mouth and respiratory system, the policy could constitute
      unnecessary risk being imposed on employees who openly stated that they were subject to medical
      conditions with or without the presence of a qualifying permanent disability under ADA.
  •   EFFECTIVENESS-A director complying with policy still became ill at Annual Session '22.
  •   GOD'S LAW - Wearing of face masks has long been associated with dehumanization and satanic ritual
      abuse, and yet employees were being coerced into participation in such practices, regardless of
      whether these practices violated their religion and strongly/ sincerely held religious beliefs and
      irrespective of GOD's Law.
  •   GOD'S LAW-Alteration of human DNA/RNA (transhumanism) via MRNA injection (Moderna stands for
      Modified RNA) is a questionable practice which could remove a human being from God's graces, and
      yet employees were being coerced into participation in such practices, regardless of whether these
      practices violated their religion and strongly/ sincerely held religious beliefs and irrespective of GOD's
      Law.




UNCONSTITUTIONALITY

  •   AS GUARANTEED AND EXPLICITLY STATED IN THE CONSITUTION OF THE UNITED STATES OF AMERICA
      AND AS BEING SO SELF-EVIDENT AS NOT HAVING TO BE EXPLICITLY STATED, ALL PEOPLE HAVE
      CERTAIN UNALIENABLE SACRED RIGHTS TO THEIR INTERNAL BODY, IMMUNE SYSTEM, RESPIRATORY
      SYSTEM, NOSE, MOUTH, AIR, OXYGEN, BREATHING, CONSCIENCE, AND THESE SHALL NOT BE
      INFRINGED.
  •   CONSTITUTION OF THE UNITED STATES OF AMERICA -The Constitution (which includes the Bill of
      Rights) expressly documents certain, unalienable, and SACRED ("endowed by the CREATOR") rights
      under the law. There are laws in place that prohibit interference with these certain, unalienable sacred
      rights. Among those listed are speech, assembly, petitioning, redress of grievance, keeping and bearing
      arms, dwellings, papers, property, speedy trial, bail, etc. All items listed are EXTERNAL to the human
      person. However, the employer's policy related to a person's INTERNAL HUMAN SYSTEMS (breathing,
      respiratory system, immune system, and conscience), being far more protected.
  •   SECOND AMENDMENT -The second amendment states that the keeping and bearing of arms (external
      to the person) shall not be infringed. The right to breath and decide what goes into one's body is far
      more certain, unalienable, and sacred. These certain, unalienable, sacred rights shall not be infringed.



                                                     PAGE 4 OF 6
       Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 6 of 7 PageID #: 16



•   TAGGING HUMAN BEINGS WITH THEIR HEALTH STATUS AS THOUGH THEY ARE CATTLE IS
    UNCONSTITUTIONAL BASED ON THE SELF-EVIDENT JUDICIAL FACT THAT ALL PEOPLE ARE CREATED
    EQUAL.
•   CERTAIN, UNALIENABLE RIGHTS THAT COME FROM GOD DO NOT REQUIRE NOTES- A person should
    no more need to produce a note to an employer giving them the ability to breath air as created by God
    with the lungs that were created by God than they need to produce a note to an employer that gives
    them permission eat, rest, throw up, give birth, bleed, sleep, drink, get out of the sun, put on a coat, sit
    down, use the restroom, or any other primary biological function. Even a doctor asks a patient if they
    feel pain because in the end it is the patient that knows the immediate status of their primary biology,
    breath ing being the most urgent of all of these. It is self-evident that a person cannot hold their breath
    more than three to five minutes without dying.
•   CERTAIN, UNALIENABLE RIGHTS THAT COME FROM GOD DO NOT REQUIRE NOTES- A person,
    endowed by their Creator with certain unalienable rights, should no more need to produce a note to an
    employer exempting them from medical injection than they need to produce a note not to undergo
    cancer treatment, dental treatment, dialysis, organ transplant, surgery, medication, x-ray, vision
    correction, or any other medical procedure.
•   THE UNITED STATES OF AMERICA-The Pledge of Allegiance states that we are ONE NATION UNDER
    GOD, INDIVISIBLE WITH LIBERTY AND JUSTICE FOR ALL. To think that by virtue of my working for this
    one employer at this one company in this one state with this one title I am denied my certain,
    unalienable, SACRED rights to my own internal body, my respiratory system, my immune system, my
    conscience, my religion, my strongly/ sincerely held religious belief is unconscionable and
    discriminatory, not to mention UNCONSTITUTIONAL.
•   FOURTH AMENDMENT-This amendment clearly asserts "the right of the people to be secure in their
    person ." No further explanation on this point is required.
•   NINTH AMENDMENT- "The enumeration in the Constitution of certain rights shall not be construed to
    deny or disparage others retained by the people." No further explanation on this point is required.
•   TENTH AMENDMENT- "The powers not delegated to the United States by the Constitution, nor
     prohibited by it to the States, are reserved to the States respectively, or to the people ." No further
    explanation on this point is required.
•   AMERICAN HISTORY - Slavery was made illegal and declared unconstitutional decades ago . The state
    and the employer do not hold sovereignty over my body, my internal systems, or my conscience. No
    further explanation on this point is required.
•   THE ORDER OF LAW - (See diagram provided by our United States Veterans which makes no mention of
    a corporation in the structure of the government and Order of Law of the United States of America).
    Viruses have been around since people were created. Cloth has been around for centuries. These are
     not unprecedented . The only thing unprecedented is a company presuming to put itself above my
     certain, unalienable, SACRED right to my own body, my conscience, my religion, my strongly/ sincerely
     held religious beliefs, my immune system, my respiratory system, the Constitution of the United States
     of America, the laws of this country, and, most importantly, GOD'S LAW.




                                                    PAGE 5 OF 6
                      Case: 4:22-cv-00870-CDP Doc. #: 1-3 Filed: 08/22/22 Page: 7 of 7 PageID #: 17
                                                                                                                                                                                       .J
   In summary, I have endured discrimination, coercion, unnecessary denial of exemption, unnecessary denial of
  reasonable accommodation, harassment, and infringement on my CERTAIN, UNALIENABLE, SACRED RIGHTS
  THAT ARE ENDOWED BY GOD.



                                                                       11N1   0 1 LAY,         I      THE        >IITl0 $ TAh




                                                                                    1    ..,        to un
                                                                                    1          ••      '
                                                                                                           ~' lOt
                                                                                                              , I
                                                                                                    .,. .,, o,




   As remedy, I desire an end to the discrimination and anything else the Commission deems just and proper.
                                                                                                                                              I

 J a~,<J4d~AA~~a. ~dk.1~i~?/4J-r, ~T,_,~~-@
       tJ4/;u~ f/u.7;~dM~nc/mtwi-klk d,1,zsh/uh'oPL °/i¼,.., //                                                       114 1/~ '.:51/a'~
       1 d~;~ t''~c/,z~s f                    &rient,n;-.esj.




                                                                                               PAGE 6 OF 6                                                ARTHUR BAUE
                                                                                                                                                   Notary Public - Notary Seal
                                                                                                                                                        State of Missouri
                                                                                                                                               Commissioned for St Louis County
                                                                                                                                              My Commission Expires: Jan. 16, 2023
                                                                                                                                                             19570498
  I want this charge filed with both the EEOC and the State or loca l Agency, if any. I                             NOTARY - When necessa,y for State and Local Agency Req11irements
. will advise the agencies if I change my address or phone number and I will cooperate
  fully with them in the processing of my charge in acco rdance with their procedures.
                                                                                                                    I sw ear or
 I declare under penalty of perjury that the above is true and correct.                                             the be
                                                                                                                    SIG



                                                                                                                    SUBSCRIBED AND SWOiRN"'fie:f-Bl':F,
   X 57S7'202.2
                                                                                                                    (month, d a : . ? 0 : i - -
              Date                             Charging Patty Signat11re

EEOC Form 5 (5/01 i
